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                         EXHIBIT C
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                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA

___________________________________
                                    )
AMERICAN FOREIGN SERVICE            )
ASSOCIATION, et al.,                )
                                    )
                  Plaintiffs,       )        Civil Action No. 1:25-CV-352
                                    )
            v.                      )
                                    )
DONALD TRUMP, et al.,               )
                                    )
                  Defendants.       )
___________________________________ )


                        DECLARATION OF BETH DOE

      I, Beth Doe, declare the following under penalties of perjury:

      1.    I am over 18 years of age and competent to give this declaration. This

declaration is based on my personal knowledge, information, and belief.

      2.     I am a member of the American Foreign Service Association (AFSA).

      3.    I am an untenured Career Candidate Corps Foreign Service Officer.

      4.    On Tuesday, February 4, 2025, I received an email from USAID

declaring that on February 7, 2025 at 11:59 pm I would be put on Administrative

Leave. I am currently 32 weeks pregnant and have an approved Obstetric Medical

Evacuation (Medevac) Cable from US Department of State entitling me medevac

status starting on February 23, 2025.

      5.    My medical evacuation was approved and a welcome packet and cable

sent on January 17, 2025. I, along with my Eligible Family Member Child, were

approved to medically evacuated to Washington D.C. with full per diem and benefits,
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as per 16 FAM 310. We had already arranged care with a hospital in Washington,

DC, signed a lease to rent a house short-term, signed a contract with a doula, and

paid a deposit for a preschool for our child. However, due to the recall, the OB

Medevac cable was amended on February 5, 2025 to a one-way ticket to our home of

record (                   leaving us scrambling to be transferred to a new hospital

at 32 weeks, break our lease, withdraw our child from preschool and break the

contract with the doula. When on Administrative Leave, I am no longer protected

under the Family and Medical Leave Act (ADS Chapter 480, 481), thus making me

vulnerable to losing my job.

      Further, we have to high school children too. In the "Path Forward" email to

all USAID Direct hires, we were informed that exceptions would be made for those

who have children still in school. Today, we found out we have not been granted an

exception. This uncertainty has left us urgently searching for high schools that will

admit our children during the school year while also preparing for a

newborn. Additionally, all three of our children are on Individual Education Plans

and require special accommodations. We have yet to find schools that have openings

at this time and which can also meet their accommodation needs.

      6.     Thus far, we have lost over $4,000 already due to breaking the lease,

withdrawing our child from preschool and breaking the contract with the doula. My

spouse also works for USAID as a direct hire and is also on Administrative Leave

beginning February 7, 2025. We were told by the U.S. State Department on February

5, 2025 that, to quote, “we cannot guarantee that you will receive per diem beyond



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March 9, 2025.” To be financial safe, we decided to move in with my sister, as we

cannot afford to rent a house. We are seeking government services to be able to place

our child in preschool in          . From what the U.S. State Department Medical

Team told us, there are at least 20 other pregnant USAID Foreign Service Officers

on medevac and in the same situation as us. This is not unique to just me.

      7.     This abrupt change, in the third trimester, has caused undue and

immense stress. I experienced two pregnancy losses directly prior to this pregnancy.

I am over 35, thus considered a “geriatric patient”. The stress has caused my blood

pressure to increase, which can be extremely dangerous during pregnancy. I am

currently being cared for by the U.S. Embassy Regional Medical Officer, but have no

guarantee to those services in the future.

      Lastly, one of our children was medically evacuated late 2024 to the USA due

to a serious mental health breakdown. The largest trigger in the decline of their

mental health was the multiple transitions they have had to go through since I

started working at USAID. The mental health and counseling team that cared for

them recommended that they stay at post until they can graduate to provide stability.

We and their mental health support team fear that threat of another sudden move

will again create a mental health breakdown for them.

      I declare under penalty of perjury that the foregoing is true and correct.

      Executed on February 7, 2025.



                                                  /s/ Beth Doe
                                                 Beth Doe

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